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                    EXHIBIT A
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From: Cannon, Rebecca <Rebecca.Cannon@ct.gov>
Sent: Thursday, May 14, 2020 11:15 AM
To: Hendel, Caroline <caroline.hendel@yale.edu >; Pat Noonan <PNoonan@ddnctlaw.com >
Cc: trahman@wigdorlaw.com
Subject: RE: 2030529, 2030533, 2030537, 2030538, 2030542, 2030544 - Oliver, Oliver, Castro, Reinhart,
Boules and Eltorai vs. Yale University


Dear Respondent:

If you agree to a mutual ROJ then we can grant that immediately and you would not need to file
an answer with the CHRO.

Please let us know. Thank you.




Rebecca J. Cannon-Klemenzpuman Rights and Opportunities Representative
Connecticut Commission on Human Rights and Opportunities
55 West Main Street, Suite 2101Waterbury, CT 06702
Ph: 203.805.65471Fax: 203.805.6559 rebecca. cannon@ct.gov
